944 F.2d 900
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Shelby C. BUCHANAN, Plaintiff-Appellant,v.CONTEL TELEPHONE COMPANY, Local Number 3673, CommunicationsWorkers of America AFL-CIO, Defendants-Appellees.
    
      No. 91-3505.
      United States Court of Appeals, Fourth Circuit.
      Submitted July 11, 1991.Decided Sept. 16, 1991.
      Appeal from the United States District Court for the Western District of North Carolina, at Bryson City.   Woodrow Wilson Jones, Senior District Judge.  (CA-90-186-B-C-J)
      Shelby C. Buchanan, appellant pro se.
      Randall David Avram, Hunton &amp; Williams, Raleigh, N.C., John David James, Smith, Patterson, Follin, Curtis, James &amp; Harkavy, Greensboro, N.C., Gerard Christopher Boyle, Boyle, Tyburski &amp; Toll, Washington, D.C., for appellees.
      W.D.N.C.
      AFFIRMED.
      Before WIDENER, K.K. HALL and WILKINSON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Shelby C. Buchanan appeals from the district court's order dismissing her suit against her former employer and representative union because it was filed beyond the applicable six-month statute of limitations.   DelCostello v. International Brotherhood of Teamsters, 462 U.S. 151 (1983).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Buchanan v. Contel Telephone Co., CA-90-186-B-C-J (W.D.N.C. Feb. 19, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    